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                                                                                                                              FELICIA PITRE
   Case 3:22-cv-02071-L Document 1-6 Filed 09/16/22                                        Page 1 of 67 PageID 43           DISTRICT CLERK
                                                                                                                        DALLAS CO., TEXAS
                                         DC-22-091 28                                                                 Danitra Brown DEPUTY


                                 No.

  CITY OF DALLAS;




                                                 §§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§
  CITY OF ABILENE;
  CITY OF ALLEN;
  CITY OF AMARILLO;
  CITY OF ARLINGTON;
  CITY OF AUSTIN;
  CITY OF BEAUMONT;
  CITY OF CARROLLTON;
  CITY OF DENTON;
  CITY OF FORT WORTH;
  CITY OF FRISCO;
  CITY OF GARLAND;
  CITY OF GRAND PRAIRIE;                                                               In the District Court of
  CITY OF HOUSTON;
  CITY OF IRVING;
  CITY OF LEWISVILLE;
  CITY OF MCKINNEY;                                                                    Dallas County, Texas
  CITY OF MESQUITE;
  CITY OF NACOGDOCHES;
  CITY OF PEARLAND;                                                                    14th
  CITY OF PLANO;
  CITY OF ROWLETT;                                                                              Judicial District
  CITY OF SUGAR LAND;
  CITY OF TYLER; and
  CITY OF WACO,

         Plaintiffv,

  V.

  DISNEY DTC, LLC;
  HULU, LLC; and
  NETFLIX, INC.,
         Defendants.



                        PLAINTIFFS’ ORIGINAL PETITION

       COME NOW the Plaintiffs, by and through their attorneys of record,                             and ﬁle this Original

Petition against the Defendants and allege as follows:
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                                 DISCOVERY CONTROL PLAN
        1.      Discovery will be conducted under Level 3 of Texas Rule of Civil Procedure 190.4.

                                           INTRODUCTION
       2.       Under Chapter 66 of the Texas Public Utility Regulatory Act (hereafter “PURA”),

Tex. Util. Code   § 66.001 et seq., a   Texas municipality can collect a franchise fee from a provider

of video service if its programming is delivered over wireline facilities located even partly in the

public right-of-way. See Tex. Util. Code §§ 66.005 & 66.002(10)—(l 1) (hereafter “franchise

fee(s)”). For many years, providers of cable service, such as cable companies, which are also

subject to Chapter 66, have remitted fees to Texas cities under PURA.

       3.       But in recent years, more Texans have shifted to subscription-based, streaming

video services like Disney DTC    LLC, Hulu, LLC, and Netﬂix, Inc. (collectively “Defendants”) to
View television programs and movies. Despite transmitting their video programming through

wireline facilities located at least in part in the public right-of-way, Defendants have ignored their

statutory obligations to obtain a state-issued certiﬁcate of franchise authority and pay the required

franchise fees, depriving Texas municipalities of the required compensation for their use of the

right-of—way.

       4.       PURA applies to Defendants, just as it applies to other companies furnishing Video
service. Defendants provide streaming “video service” to their subscribers using internet protocol

technology, which is speciﬁcally referenced in PURA. Tex. Util. Code § 66.002(10) (deﬁning

“video service” as “video programming services provided through wireline facilities located at

least in part in the public right-of-way without regard to delivery technology, including Internet

protocol technology”). When doing so, Defendants’ programming is transmitted through wireline

facilities located at least in part in the public rights-of-way of the Plaintiff cities in which they

operate. Therefore, Defendants are “video service providers” within the meaning         of PURA and
owe the Plaintiff cities franchise fees. Tex. Util. Code §66.002(11) (deﬁning “video service

provider” as “a video programming distributor that distributes video programming services

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through Wireline facilities located at least in part in the public right-of-way without regard to

delivery technology”). Defendants, however, have not paid such franchise fees.
       5.      Plaintiffs seek to require Defendants to abide by PURA and to pay the franchise

fees owed to Plaintiffs.


                                           PARTIES
       6.      The City of Dallas is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

       7.      The City of Abilene is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

       8.      The City of Allen is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

       9.      The City of Amarillo is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

        10.    The City of Arlington is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

        11.    The City of Austin is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

        12.    The City of Beaumont is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

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         13.   The City of Carrollton is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

         14.   The City of Denton is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of video service began.

         15.   The City of Fort Worth is a lawfully existing home-rule Texas municipal

corporation within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and

all other applicable laws, and it has been always since Defendants’ provision of video service

began.

         16.   The City of Frisco is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

         17.   The City of Garland is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

         18.   The City of Grand Prairie is a lawfully existing home-rule Texas municipal

corporation within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and

all other applicable laws, and it has been always since Defendants’ provision of video service

began.

         19.   The City of Houston is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of video service began.

         20.   The City of Irving is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of video service began.


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         21.   The City of Lewisville is a lawfully existing home-rule Texas municipal

corporation within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and

all other applicable laws, and it has been always since Defendants’ provision of Video service

began.

         22.   The City of McKinney is a lawfully existing home-rule Texas municipal

corporation within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and

all other applicable laws, and it has been always since Defendants’ provision of video service

began.

         23.   The City of Mesquite is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art.   ll, Tex. Loc. Gov’t Code § 9.001   et seq., and all other

applicable laws, and it has been always since Defendants’ provision of video service began.

         24.   The City of Nacogdoches is a lawfully existing home-rule Texas municipal

corporation Within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and

all other applicable laws, and it has been always since Defendants’ provision of video service

began.

         25.   The City of Pearland is a lawﬁilly existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since the provision of video service began.

         26.   The City of Plano is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since the provision of video service began.

         27.   The City of Rowlett is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and all other

applicable laws, and it has been always since Defendants’ provision of video service began.

         28.   The City of Sugar Land is a lawﬁilly existing home-rule Texas municipal

corporation within the meaning of Texas Const. art. 11, Tex. Loc. Gov’t Code § 9.001 et seq., and



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all other applicable laws, and it has been always since Defendants’ provision of Video service

began.

         29.   The City of Tyler is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art.   ll, Tex. Loc. Gov’t Code § 9.001       et seq., and all other

applicable laws, and it has been always since the provision of Video service began

         30.   The City of Waco is a lawfully existing home-rule Texas municipal corporation

within the meaning of Texas Const. art.   ll, Tex. Loc. Gov’t Code § 9.001       et seq., and all other

applicable laws, and it has been always since Defendants’ provision of Video service began.

         31.   Pursuant to Texas Utilities Code § 66.005, Defendants are obligated to pay, and

Plaintiffs are authorized to collect, franchise fees from certain companies who transmit video

programming and other Video programming services through the public right-of-way.

         32.   Joinder of Plaintiffs in one action is permitted under Texas Rule of Civil Procedure
40 and the Texas   Civil Practice & Remedies Code.
         33.   Defendant Disney    DTC LLC (“Disney”) is a Delaware limited liability company,
with headquarters in the State of California. The company’s primary business is its Video service,

which offers online streaming of a library of ﬁlms and television programs, as well as the

distribution and production of original ﬁlms and television series. Despite not registering to do

business in Texas, Disney indeed does business in Texas, including in the Plaintiffs’ jurisdictions,

and has always done so since at least November 12, 2019.

         34.   Defendant Hulu,    LLC (“Hulu”)   is a Delaware limited liability company, with its

headquarters in the State   of California. The company’s primary businesses      are its Video service,

which offers online streaming of live video programming and a library of ﬁlms and television

programs, as well as the distribution and production       of original ﬁlms and television series. On
March 18, 2010, Hulu registered itself to do business in Texas as a foreign limited liability

company. Hulu does business in Texas, including in the Plaintiffs’ jurisdictions, and has always

done so since Hulu’s provision   of Video service began.


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         35.       Defendant Netﬂix, Inc. (“Netﬂix”) is a Delaware corporation with its headquarters

in the State of California. The company’s primary businesses are its Video service, which offers

online streaming of a library of ﬁlms and television programs, as well as the distribution and

production of original ﬁlms and television series. On February            l,   2002, Netﬂix acquired a

certiﬁcate of authority to transact business in Texas. Netﬂix does business in Texas, including in

the Plaintiffs’ jurisdictions, and has always done so since      Netﬂix’s provision of video service

began.


                                    JURISDICTION AND VENUE
         36.       The Court has subject-matter jurisdiction under the Texas Constitution, Article V,

sections   1   & 8, as the amount in controversy exceeds the minimum jurisdictional limits of the court
exclusive of interest, and section 24.007 of the Texas Government Code, sections 37001—37011

of the Texas Civil Practice & Remedies Code (Uniform Declaratory Judgments Act), and sections

65.001, 65.011, and 65.021 of the Texas Civil Practice & Remedies Code (Injunctions), and

jurisdiction to enforce Defendants’ obligation to pay franchise fees under PURA. Plaintiffs seek
relief that can be granted by courts of law or equity.

         37.       Plaintiffs have a right of action to enforce PURA. See Tex. Util. Code §§ 66.005(b),

66.015(a)—(b), 66.016(a)—(b).

         38.       This Court possesses personal jurisdiction under section 17.042 of the Texas Civil

Practice & Remedies Code (Texas’s long-arm statute) because the cause of action arises from

Defendants’ transactions of business within Texas.

         39.       Venue is proper under Chapter 15 of the Texas Civil Practice & Remedies Code,

the Texas Rules       of Civil Procedure, and other applicable Texas law because, inter alia, one or
more Plaintiffs are within Dallas County, Dallas County is one        of several counties in which the

complained-of actions occurred, and Defendants can be found and/or do business in this County.




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                                      FACTUAL BACKGROUND
         40.     PURA allows Texas municipalities         to collect franchise fees from “Video service

providers” who sell “Video service” in their jurisdictions. Tex. Util. Code § 66.005.
         41.     PURA deﬁnes a “video service provider” as “a Video programming distributor that
distributes video programming services through wireline facilities located at least in part in the

public right-of-way Without regard to delivery technology. This term does not include a cable

service provider.” Tex. Util. Code § 66.002(11).

         42.     PURA deﬁnes “video service”         as “video programming services provided through

wireline facilities located at least in part in the public right-of-way without regard to delivery

technology, including Internet protocol technology. This deﬁnition does not include any Video

service provided by a commercial mobile service provider as deﬁned in 47 U.S.C. Section 332(d).”

Tex. Util. Code      §   66.00200).
         43.     PURA deﬁnes “video programming”            as “programming provided by, or generally

considered comparable to, programming provided by, a television broadcast station, as set forth in

47 U.S.C. Section 522(20).” Tex. Util. Code § 66.002(9).

         44.     The Federal Communications Commission             (“FCC”)   has interpreted 47   U.S.C.

§   522(20) to mean “programming comparable to that provided by broadcast television stations in

1984,” including superstations, cable networks, and pay cable whether on a per channel or per

program basis. Telephone Company-Cable Television Cross-Ownership Rules, Second Report and

Order, 7 FCC Rcd. 5781, 5820—21       1i   74 (1992). The FCC added that a service will ﬁt that deﬁnition

“to the extent a service contains severable video images capable of being provided as independent

video programs comparable to those provided by broadcast stations in 1984.” Id. Notably, the

deﬁnition of “video programming” is not limited to provider-driven, channel-based broadcasting.

Rather, it has for decades encompassed consumer-driven, program-based video programming.

         45.     Traditional television broadcast stations that existed in the 1980s include ABC,

CBS, NBC,      and   FOX.


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        46.     The FCC has conﬁrmed that “the mere inclusion of some interactive capability

[e.g., replay or fast-forward] should not be sufﬁcient to transform Video programming into non-
Video programming” and reafﬁrmed its earlier conclusion that “Video-on-demand images” that

involve “subscriber control” still constitute “Video programming.” Telephone Company-Cable

Television Cross-Ownership Rules, Memorandum Opinion and Order, 10               FCC Rcd. 244 W     103—

111 (1994).   The FCC has also “held that Video distributed over the Internet qualiﬁes as ‘Video

programming.’” Notice of Proposed Rulemaking in MB Docket No. 14-261, I/M/O Promoting
Innovation & Competition in the Provision of Multichannel Video Programming Distrib. Servs.,

29   FCC Rcd.   15995, 16002,   1]   16   & n.35 (2014) (citing 2010 decision overturning contrary 2002

decision).

I.      Disney, Hulu, and Netﬂix Distribute “Video Programming Services” to Subscribers
        in Texas

        47.     Streaming Video has been in existence since at least the 1990s.

        48.     Hulu started its beta streaming Video in 2007 and began streaming video to the

public in early 2008.

        49.     Hulu provides streaming on-demand Video content, as well as live programming.

        50.     Hulu’s service includes several tiers, all of which include on-demand television

shows and movies. Certain tiers include live television shows and movies while other tiers include

no commercial videos on-demand.

        51.     Since 2007, Netﬂix has offered online, on-demand streaming of television shows,

movies, documentaries, and other content to subscribers.

        52.     Netﬂix began offering the streaming service as a standalone service in the United

States in November 2010 and has continued to do so without interruption through the present.

        53.     Defendants’ programming is comparable to programming provided by a television

broadcast station and other providers        of Video programming that pay franchise fees under PURA.
Defendants have not been subtle about their intentions to provide just that.



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         54.   Netﬂix states that it offers video programming “comparable to similarly-focused

US domestic cable networks.” See Exhibit A, April     16, 2018, Shareholder Letter, at 2.

         55.   Netﬂix’s library of content has included some television series originally

premiering on television broadcast stations, such as The Blacklist, Cheers, Dynasty, Evil, Family

Guy, Frasier, Glee, Gotham, Grey’s Anatomy, Hannibal, How           I Met   Your Mother, How to Get

Away with Murder, MacGyver, NCIS, New Girl, The Ofﬁce, Rules of Engagement, Scrubs, Star

Trek, Survivor, The Twilight Zone, Twin Peaks, and Will & Grace.

         56.   Netﬂix has competed for and won awards for excellence in television programming

regarding its original television shows. For example, House of Cards was nominated for a Golden

Globe® Award in 2014 and 2015 for Best Television Series        —   Drama and was nominated for an

Emmy® Award in 2013, 2014, 2015, 2016, and 2017 for Outstanding Drama Series. Stranger

Things was nominated for a Golden Globe® Award in 2017 and 2018 for Best Television Series
—   Drama and was nominated for an Emmy® Award in 2017, 2018, 2020 and 2022 for Outstanding

Drama Series. The Crown won an Emmy® Award in 2021 for Outstanding Drama Series, beating

out fellow Netﬂix nominee Bridgerton and       NBC nominee This is Us, among      others. Cobra   Kai,
The Kominsky Method, and Emily in Paris were nominated for an Emmy® Award in 2021 for

Outstanding Comedy Series alongside     ABC nominee black-ish. Squid Game was nominated for a
Golden Globe® Award in 2022 for Best Drama Series and was nominated for an Emmy® Award

in 2022 for Outstanding Drama Series. Ozark was also nominated for an Emmy® Award in 2022

for Outstanding Drama Series. Bridgerton won an Emmy® Award in 2021 for Outstanding Period

and/or Character Hairstyling for its episode   “Art of the Swoon.” And Queer Eye won        an Emmy®

Award in 2020 for Outstanding Structured Reality Program.

         57.    Hulu claims that its Video programming is a Viable alternative to cable and

broadcast television.   As one of Hulu’s executives put it in   a Hulu press release,   “Hulu is the

complete TV experience for consumers, offering both live and on-demand programming and more

consumer choice than ever before.” Exhibit B, May 2, 2018, Press Release.



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          58.   Hulu subscribers have been able to watch shows from networks that include, among

others,   ABC, CBS, FOX, NBC, TBS, TNT, and MTV.
          59.   Hulu has also aired some current-season episodes the day after they air on television

broadcast stations, such as Saturday Night Live, Family Guy, The Voice, The Masked Singer, This

is Us, Chicago P.D., Debris, Big Sky, and The Simpsons.

          60.   Hulu has also aired some television series originally premiering on television

broadcast stations, such as The Brady Bunch, Cheers, Family Matters, Frasier,        Full House, The
Golden Girls, How    I Met Your Mother, I Love Lucy,     The Mary Tyler Moore Show,      M*A *S*H*,
Modern Family, The Odd Couple, Perfect Strangers, Saved by the Bell, 30 Rock, Wings, and The

Wonder Years.

          61.   For the shows originally airing on traditional television broadcast stations that later

appear on Hulu, the bulk   of the content of those shows is the same.
          62.   Subscribers to Hulu’s Hulu +Live      TV   tier currently receive access to over 75

channels of live television.

          63.   Hulu has competed for, and won, awards for excellence in television programming

regarding its original television shows. For example, The Handmaid’s Tale won a Golden Globe®

Award in 2018 for Best Television Series       —   Drama and won an Emmy® Award in 2017 for

Outstanding Drama Series. It was nominated for an Emmy® Award in 2021 for Outstanding

Drama Series. Pen15 was nominated for an Emmy® Award in 2021 for Outstanding Comedy

Series. Only Murders in the Building was nominated for a Golden Globe® Award in 2022 for Best

Musical/Comedy Series and was nominated for an Emmy® Award in 2022 for Outstanding

Comedy Series in competition with fellow-nominee Abbott Elementary that appears on ABC. Also
nominated for a Golden Globe® Award in 2022 for Best Musical/Comedy Series was Hulu show

The Great. And Dopesick was nominated for a Golden Globe® Award in 2022 for Best Television

Motion Picture.

          64.   Disney, through its Disney+ service, “offers commercial-free programming with a


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variety of original feature-length ﬁlms, documentaries, live-action and animated series, and short-
form content.” Exhibit C, April 8, 2020, Press Release.

       65.       Disney+ streaming service includes episodes of television shows that are available
for streaming after originating on traditional broadcast networks. At various times, Disney+ has

been able to provide its users with episodes     of The Simpsons, DuckTales, Schoolhouse Rock,
Adventures of Gummi Bears, The Muppet Show, and Boy Meets World.

       66.       At various times, Disney+ has been able to provide its users with episodes of Lizzie

McGuire, That’s So Raven, Hannah Montana, Wizards of Waverly Place, Liv and Maddie, and
Austin & Ally.

       67.       Disney+ has competed for awards for excellence in television programming

regarding its original television shows. For example, The Mandalorian was nominated for a

Golden Globe® Award in 2021 for Drama         TV Series and was nominated for an Emmy® Award
in 2020 and 2021 for Outstanding Drama Series. Chip ‘n Dale: Rescue Rangers was nominated

for an Emmy® Award in 2022 for Outstanding Television Movie. And The Beatles: Get Back was

nominated for an Emmy® Award in 2022 for Outstanding Documentary or Nonﬁction Series.

       68.       All   Defendants charge subscribers a fee to access their video programming. To

stream Netﬂix’s Video programming, Netﬂix subscribers must subscribe to one        of three monthly

plans: a $9.99 basic plan that allows subscribers to watch programming on one device at a time in

480p resolution, a $15.49 standard plan that allows subscribers to watch programming on two

devices at a time in 1080p resolution, or a $19.99 premium plan that allows subscribers to watch

programming on four devices at a time in 4K and HDR resolution.

       69.       To stream Hulu’s on-demand video programming, Hulu subscribers similarly must

subscribe to a monthly plan. The current basic $6.99 plan is advertisement-supported, meaning it

includes commercials. For $12.99 per month, subscribers can receive Hulu’s programming without

commercials.

       70.       Hulu also currently offers a service for $69.99 per month called Hulu + Live    TV


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now with Disney+ and       ESPN+. It combines access     to Hulu’s on-demand streaming libraries with

live programming from over 75          TV   channels, including the most popular sports, news, and

entertainment channels. Hulu also offers the Hulu +      Live TV now with Disney+ and ESPN+ plan
without commercials for $75.99 per month. Additionally, Hulu offers other “add-on” features,

including, inter alia, HBO, Cinemax, Showtime,         STARZ, and enhanced DVR capabilities.
        71.       Disney currently offers Disney+, its Video-programming service, for $7.99 per

month, or $79.99 per year. Disney also offers Disney+ bundled with        ESPN+ (a sports-streaming

program) and Hulu’s basic, advertisement-supported on-demand service for $13.99 per month (or

$19.99 per month with no advertisements).

        72.       Defendants compete with cable television companies and with television broadcast

stations like   ABC, CBS, NBC, and FOX for viewers.
        73.       In short, Defendants generate revenues by charging their subscribers to View

professionally produced and copyrighted television shows, movies, documentaries, and other

programming. Defendants therefore distribute “video programming” services to their subscribers

in Texas. See Tex. Util. Code §66.002(9) (deﬁning “video programming” as “programming

provided by, or generally considered comparable to programming provided by, a television

broadcast station, as set forth in 47 U.S.C. Section 522(20)”).

II.     Disney, Hulu, and Netﬂix Provide Video Programming Services “Through Wireline
        Facilities Located at Least in Part in the Public Right-of-Way”

        74.       Defendants transmit their video programming services through wireline facilities

located at least in part in the public right-of-way.

        75.       Subscribers view Defendants’ video programming using devices—including, inter

alia, smart televisions, streaming media players like Roku or Apple TV, and set-top boxes from
cable and satellite providers—that have software enabling them to stream Defendants’ Video

programming. See,     e. g.,   Exhibit D, How does Neﬁlix work? When a subscriber wants to watch

Netﬂix, Hulu, or Disney+, the companies deliver the video programming to the subscriber via



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internet protocol technology.

          76.   To deliver Video programming, Defendants push their programming over local

internet—service providers’ local broadband facilities. This transmission takes place on Wireline

facilities within the public right-of-way, i.e., the area on, below, or above a public roadway,

highway, street, public sidewalk, alley, waterway, or utility easement in which the municipality
has an interest. Tex. Util. Code § 66.002(8). Such Wireline facilities are commonly located on

utility poles or underground in such areas.
          77.   All   Defendants provide Video programming services through Wireline facilities

located at least in part in the public right-of-way and, in some instances, entirely in the public right-

of-way.

III.      This Lawsuit Seeks the Recovery of Franchise Fees from Disney, Hulu, and Netﬂix,
          Who Have Failed t0 Pay Fees Despite Meeting the Statutory Deﬁnition of a “Video
          Service Provider” Who Sells “Video Service”

          78.   Because Defendants distribute Video programming through “Wireline facilities

located at least in part in the public right-of-way,” they are “Video service providers” selling “Video

service” under PURA. Tex. Util. Code § 66.002(10)—(11). No exclusion applies, and Defendants

are not commercial mobile service providers as deﬁned by 47         U.S.C.   §   332(d). Defendants must
therefore pay franchise fees to Plaintiff municipalities under Texas Utilities Code § 66.005.

          79.   Defendants have failed to comply with        PURA by failing       to seek a state-issued

certiﬁcate of franchise authority as required (Tex. Util. Code § 66.003) and failing to pay franchise

fees to the Plaintiff municipalities (Tex. Util. Code § 66.005). This lawsuit seeks, among other

things, a declaration that Defendants are subject to    PURA and follow-on         equitable relief for the

recovery of unpaid franchise fees for Plaintiffs.

          80.   In addition to owing Plaintiffs franchise fees under state statutory causes of action,

Defendants’ unjust enrichment also violates the Gift Clauses of the Texas Constitution, which this

Court must enforce.

          81.   From the beginning, the Texas Constitution has zealously preserved the resources


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and power of the government, especially in its prohibition of giving away public ﬁmds or resources

to further private enterprise. These provisions             of the Texas Constitution      are known as the      Gift

Clauses.

        82.          Speciﬁcally, the Gift Clauses of the Texas Constitution prohibit the collection or

expenditure of public money for anything other than public purposes. “Taxes shall be levied and

collected by general laws and for public purposes.” Tex. Const. art. VIII, § 3. “No appropriation

for private or individual purposes shall be made, unless authorized by this Constitution.” Tex.

Const. art.   XVI,     §   6(a).

        83.          Similarly, Sections 50, 51, and 52 of Article III, and Section         3   of Article XI of the

Texas Constitution provide that neither the Legislature nor any county, city, town, or other political

subdivision may grant or donate public money or a thing of value to any individual, association of

individuals, or corporation. See Tex. Const. art. III, § 50 (“The Legislature shall have no power to

give or to lend, or to authorize the giving or lending, of the credit of the State in aid of, or to any

person, association or corporation, whether municipal or other.               . .   .”); Tex. Const. art. III,   § 51

(“The Legislature shall have no power to make any grant or authorize the making of any grant of

public moneys to any individual, association of individuals, municipal or other corporations

whatsoever.    . .   .”); Tex. Const. art. III,   §   52(a) (“the Legislature shall have no power to authorize

any county, city, town or other political corporation or subdivision of the State to lend its credit or

to grant public money or thing         of value in aid of, or to any individual, association or corporation
whatsoever.    . .   .”); & Tex. Const. art. XI   § 3   (“No county, city, or other municipal corporation shall
hereafter become a subscriber to the capital            of any private corporation or association, or make any

appropriation or donation to the same                  ”)
        84.          The Texas Supreme Court has found that the purposes of article III, sections 51 and

52 and article       XVI,   section 6 are “to prevent the application of public funds to private purposes.”

Edgewood Indep. Sch. Dist. v. Meno, 917 S.W.2d 717, 739—40 (Tex. 1995) (citation omitted). In
other words, it “prohibits the expenditure            of public funds for private gain.” Graves v. Morales, 923


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S.W.2d 754, 757 (Tex. App—Austin 1996, writ denied); see also Tex. Mun. League

Intergovernmental Risk Pool v.     Tex. Workers’ Comp.    Comm ’n, 74 S.W.3d 377, 383 (TeX. 2002)

(“We have held that section 52(a)’s prohibiting the Legislature from authorizing a political
subdivision ‘to grant public money’ means that the Legislature cannot require gratuitous payments

to individuals, associations, or corporations”) (emphasis in original); Texas v. City    ofAustin,   160

Tex. 348, 355 (1960) (ﬁnding the purpose of article III, section 51 and article XVI, section 6 is “to

prevent the gratuitous grant of [public] ﬁmds to any individual or corporation whatsoever”).

        85.    Fulﬁlling the obligations of the Gift Clauses when it comes to the use of public

rights of way by Video service providers, the Texas Legislature enacted Chapter 66 of PURA,

establishing that the usage of municipal public rights-of-way by Defendants was not to go

uncompensated. Accordingly, Defendants’ uncompensated usage of municipal public rights-of-

way ultimately beneﬁts only Defendants, which are private parties, in Violation of the Gift Clauses.
Defendants do not pay, and have not paid, franchise fees to Plaintiffs, and thus are using Plaintiffs’

municipal public rights-of-way in Violation of the Gift Clauses.

                COUNT ONE—REQUEST FOR DECLARATORY RELIEF
        86.    Plaintiffs repeat and incorporate by reference every allegation contained in the

preceding paragraphs as    if fully set forth herein.
        87.    Pursuant to Chapter 37 of the     Civil Practice and Remedies Code,    the Court should

declare the following:

                87.1.    Defendants are subject to PURA.

                87.2.    Defendants are engaged in the business of providing video service in

                         Plaintiffs’ geographic areas within the meaning of Chapter 66 of PURA.

                         Tex. Util. Code   § 66.001 et. seq. Defendants derive   “gross revenues” from
                         their business (as deﬁned by Tex. Util. Code § 66.002(6)), and they have

                         engaged in their business and derived “gross revenues” from their business

                         always since the provision of video service began.


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                87.3.   Defendants have failed to obtain a state-issued certiﬁcate of franchise

                        authority from the Texas Public Utility Commission as required by Tex.

                        Util. Code   §   66.003(a).

                87.4.   Defendants have failed to submit accountings to Plaintiffs, as required by

                        PURA.
                87.5.   Defendants have failed to pay franchise fees to Plaintiffs, as required by

                        PURA.
                87.6.   Defendants’ failure to pay franchise fees to Plaintiffs unjustly enriches

                        Defendants at the expense of Plaintiffs and violates the Gift Clauses of the

                        Texas Constitution.

                87.7.   Defendants’ failure to pay franchise fees to Plaintiffs constitutes a trespass

                        against Plaintiffs under Texas common law and the Texas Constitution.

                87.8.   All such other declarations as are consistent with the relief requested herein
                        or which is otherwise just and proper under the circumstances.

                  COUNT TWO—REQUEST FOR INJUNCTIVE RELIEF
        88.     Plaintiffs repeat and incorporate by reference every allegation contained in the

preceding paragraphs as   if fully set forth herein.
        89.     Plaintiffs do not have an adequate remedy at law. Defendants’ Violations of PUM

and the Texas Constitution are continuing, and Plaintiffs would be required to bring successive

actions to enforce compliance and to collect unpaid fees.

        90.    Unless Defendants are enjoined from Violating the applicable statutes and

constitutional provisions, Plaintiffs will continue to suffer irreparable harm or injury. Plaintiffs are

being deprived of the required compensation for Defendants’ usage of the municipal public rights-

of-way needed to protect the public health, safety, and welfare of their citizens. Because
Defendants intend to continue engaging in business within the jurisdictional limits of Plaintiffs

and this Court, and deriving gross revenues from their business, Plaintiffs       will continue   to be


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deprived of franchise fees unless Defendants are so enjoined. Plaintiff municipalities’ recovery of

statutorily required franchise fees is in the public interest.

        91.     Pursuant to Chapters 37 and 65    of the Civil Practice and Remedies Code, the Court
should permanently enjoin Defendants from using municipal public rights-of-way Without

contemporaneous and continuous compliance with all applicable provisions of the Texas

Constitution and PURA.

                   COUNT THREE—REQUEST FOR AN ACCOUNTING
        92.     Plaintiffs repeat and incorporate by reference every allegation contained in the

preceding paragraphs as   if fully set forth herein.
        93.     Defendants have a duty to keep and maintain accurate books and records pertaining

to the franchise fees owed to Plaintiffs. See Tex. Util. Code § 66.005(b). Upon information and

belief, Defendants have not kept sufﬁcient books and records necessary to calculate back-franchise

fees owed for all prior years.

        94.     Defendants have not accounted to Plaintiffs for the franchise fees owed to Plaintiffs.

        95.     The Court should require Defendants to remit an accounting to Plaintiffs, in

accordance with PURA.

                                   COUNT FOUR—TRESPASS
        96.     Plaintiffs repeat and incorporate by reference every allegation contained in the

preceding paragraphs as   if fully set forth herein.
        97.     To the extent Defendants are found not liable under            PUM     for any reason,

Defendants have committed a trespass against Plaintiffs under Texas common law and the Texas

Constitution.

        98.     Plaintiffs are both the owners and possessors of public right-of-way land Within

their respective boundaries.

        99.     Defendants have wrongfully entered and used Plaintiffs’ respective rights-of-way

by delivering video programming to Texas customers Without obtaining the proper state-issued

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certiﬁcate of franchise authority from the Texas Public Utility Commission, Without obtaining

authorization from Plaintiffs, and without paying franchise fees or any other remuneration to

Plaintiffs for such unauthorized use.

         100.    Defendants have intentionally and knowingly trespassed upon these public rights-

of—way. Defendants have operated, and continue to operate, for-proﬁt businesses in          which their

utilization of Plaintiffs’ public rights-of-way are central to their ability to generate proﬁts from

their sales to Texas customers. Defendants are aware of how their video delivery mechanisms work

and understand that they have been using the public rights-of-way to affect such delivery.

Defendants’ intrusions upon the public rights-of-way are no innocent or inadvertent trespasses but

are instead purposely directed to Plaintiffs’ respective properties to enable Defendants to

wrongfully proﬁt on the backs of Plaintiffs and their citizens.
         101.    Defendants’ trespass upon Plaintiffs’ property has damaged, and continues to

damage, Plaintiffs.

              COUNT FIVE—UNJUST ENRICHMENT AND MONETARY RELIEF
         102.    Plaintiffs repeat and incorporate by reference every allegation contained in the

preceding paragraphs as   if fully set forth herein.
         103.    Defendants have operated as video service providers in the geographic areas of

Plaintiffs.

         104.    By not remitting franchise fees or any other sort of remuneration, Defendants have
received the beneﬁts of doing business in Plaintiffs’ jurisdictions without paying required fees,

have been aware that they were doing business Without paying required fees and have accepted

and retained these beneﬁts under circumstances that are inequitable or unjust,    1'.   e., by depriving

Plaintiffs of monies due under the statutes, codes, and provisions of law that Defendants refuse to

honor.

         105.    Defendants owe all Plaintiffs franchise fees, together with compounded interest

(pre-judgment and post-judgment) and penalties, because of their failure to comply with the


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applicable statutes, codes, and provisions of law since the provision of video service began and for

the duration   of this litigation.

                       COUNT SIX—REQUEST FOR ATTORNEY’S FEES
        106.     Plaintiffs have incurred and will continue to incur costs and attorney’s fees needed

for the investigation and prosecution of these claims. Plaintiffs’ counsel should recover these fees

and expenditures pursuant to applicable law.

                                      PRAYER FOR RELIEF
        107.     WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully                 request that

the Court award the following relief:

        108.     That the Court declare and adjudge that Defendants are subject to PURA and have

failed to comply with its requirements including, inter alia, obtaining the required state-issued

certiﬁcate of franchise authority and remitting to Plaintiffs the franchise fees owed.

        109.     That the Court declare and adjudge that Defendants’ uncompensated use of the

public right-of-way violates the Gift Clauses of the Texas Constitution.

        110.     That the Court adjudge that Defendants’ unauthorized use of the public right-of-

way caused Defendants to be unjustly enriched, as they avoided fees that should have been paid to
Plaintiffs since the provision of Video service began and for the duration of this litigation.

        111.     That the Court adjudge that Defendants’ have trespassed upon Plaintiffs’ property

since the provision of Video service began and for the duration of this litigation.

        112.     That the Court order an accounting of all monies that Defendants owe Plaintiffs,

including compounded interest (pre-judgment and post-judgment).
        113.     That the Court award Plaintiffs money damages for the amounts that Defendants

have been unjustly enriched at Plaintiffs’ expense, including compounded interest (pre-judgment

and post-judgment) and penalties.

        114.     That the Court award Plaintiffs compensatory and punitive damages for trespass in

an amount to be proven at trial and as the jury deems appropriate, including compounded interest


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(pm-judgment and post-j udgment) and penalties.

        115.   That the Court hold a full trial on the merits, and, after the trial, grant a permanent

injunction against Defendants requiring regular accountings, timely remittance of franchise fees

to Plaintiffs, and enjoining and restraining Defendants from engaging in business Within the

boundaries of Plaintiffs and deriving gross revenues therefrom Without obtaining the required

state-issued certiﬁcate of franchise authority and without paying the required franchise fees.

        116.   That the Court hold a full trial on the merits, and, after the trial, a permanent

injunction be granted against Defendants enjoining and restraining Defendants from ﬁirther

trespass upon Plaintiffs’ property.

        117.   Plaintiffs also seek attorney’s fees under Chapter 37 of the Civil Practices and

Remedies Code, plus their costs of court and expenses, including expert witness fees.

        118.   Plaintiffs also seek such other relief to which the Court determines Plaintiffs are

entitled or which is otherwise just and proper under the circumstances.


                                REQUEST FOR DISCLOSURE
        119.   Plaintiffs request that Defendants disclose, within 50 days of the service of this

request, the information or material described in Texas Rule   of Civil Procedure 194.2.

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                Exhibit A
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April 16, 2018

Fellow shareholders,


We strive to entertain and to bring joy to people across the world through amazing stories. Our 125
million members provided us with $3.6 billion in streaming revenue in Ql. Ourjob is to spend this
money wisely to increase our members’ delight.

 hmmwﬁmmﬂl                                           (11'11           m7                 (3'17                “‘17           Q1!!!                  02'.“
                                                                                                                                                    m
Total (Including DVD):
 Revenue                                         $        2,637 $            2,785   $           2,985    $     3,286    $      3,701 5                 3,934
'
  YN 96 Growth _                                          34.7%              32.3%              30.3%|          32.6%           40.4%                   41.2%
Operating Income                                5           257 s        _     128   s      7    _209' s          245_ .5         447                      459
Operating Margin                                           9.7%              4.6%                7.0%            7.5%           12.1%                   11.9%
Netlncome                                       s           178 $               66 s              130 s           186 S_          290 S                   358
Diluted EPS                                     $          0.40 5            0.15 5              0.29 S          0.41 5          0.64 S                  0.79
Ionl Streaming:
Revenue
                                                                                                          _
                                                 $        2,516 5            2,671   5           2,87S| 5       3,181 5         3,602           5        3,841
 WV 96 Growth                                             38.896             35.8%              33.2%]          35.3%           43.296                   43.896
Era Memberships                                           94.36              9304               104._02|_      110.64          11a_.90                  125.00
Total Memberships                                         98.75           103.95                109.25l        117.58          125.“)                   131.20
Net Additions                                              4.95             5.20                  5.30           8.33            7.41                     6.20
US Streaming:
Revenue                                         5         1,470 5            1,505 5            1:547. 5        1,630 $         1,8211.         3_       1,898
Cintﬂbution Proﬁt                               5           606 S              560 S              554' S          561 S              697 $—                 751
MrlbutlorlMargln                                          41.2%              37.2%              35.8%           34.4%           38.i 7                  39.6%
Paid Memberships                                          49.38              50.32              51.35           52.81           55.09                   56.29
Total Memberships                                          50.85             51.92               52.77I         54.75           56.71               _   57.91
EAddltions _                                                1.42               1.07               0.85           1.987           _1.96_                   1.20
Internatlonal Streamlng:                                                                                                 _
ﬁevenue                                          5        1,046 5            1,165 5             1,327] $       1,550 _$        1,782 ,5                1,943
Contribution Proﬁt(l.oss)                       s            43 s              (13) $               62i $         135 s              2_72       s         274
gontfiyion Margin                                          4.19:.            4.195               4.793]          8.7%         _15£’*._,                 14.1%
Paid Memberships                                          44.99              48.71               52.68I         57.83           63.82                    68. 72
Total Memberships                                         47.89              52.03               56.48          62.83           68.29                    73.29
pet Additions                                              3.53               4.14                4.45           636‘            54;                      5.00
Consolidated:
Nettash (used In] operaﬂngacﬂvitlcs S                     (344) S            (535) 5             (420) S         (488) 5        [L371
Free Cash Flow                                  5         (423} S            (608) $             (465) S         (524) $        12871                         _
EBI'I'DA                                        $           317 S              190 s               273 s           313 $_      _534
_Shar_es   (70)                                           445.5              446;                447.4          4433            450.4
étreaming Content Obligation? (58)                            15.3            15.7                               717.7           17.9

‘Cotresponds to our total known streaming content obligations as deﬁned in our Mmhi statements and related notes in our most recently ﬁled SEC Form 10-!




NETFLIX                                                                                                                                     1
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Q1 Results and Q2 Forecast
Revenue grew 43% year over year in Ql, the fastest pace in the history of our streaming business, due to
a 25% increase in average paid streaming memberships and a 14% rise in ASP. Operating margin of 12%
rose 232 bps year over year. This was higher than our beginning of quarter guidance, due primarily to
the timing of content spend. Diluted EPS of $0.64 vs. $0.40 included a $41m non-cash unrealized loss
from F/X remeasurement on our Eurobond.

Global net adds totaled a new Ql-record of 7.41m, up 50% year over year and ahead of our 6.35m
forecast. The variance relative to our guidance was driven by continued strong acquisition trends across
the globe which we attribute to the growing breadth of our content and the worldwide adoption of
internet entertainment.

Inthe US, we added 1.96m memberships (compared with forecast of 1.45m). We completed our price
adjustment during this past quarter, resulting in 12% ASP growth for the domestic segment. Outside of
the US, membership grew by 5.46m (vs. forecast of 4.90m). Our international segment now accounts for
50% of revenue and 55% of memberships. Excluding a F/X impact of +5114 million, international
revenue and ASP rose 59% and 13% year over year, respectively.

As a reminder, the quarterly guidance we provide is our internal forecast at the time we report. For Q2,
we expect 6.2 million global net additions (1.2m in the US and 5.0m for the international segment) vs.
5.2 million in the year ago quarter. QZ operating margin is expected to be 12%. We are now targeting a
full year operating margin of 10%—11%. We continue to anticipate content and marketing spend to be
weighted towards the second half of 2018.


Content
We’ll have $7.5-$8 billion of content expense (on   aP&L basis) in 2018 across a wide variety of formats
(series, films, unscripted, docs, comedy specials, non-English language) to serve the diverse tastes of our
growing global membership base.

Ql scripted   original series debuts included the dark, coming of age story The End of the F***ing World
and sci-fi thriller Altered Carbon as well as returning seasons of Marvel’s Jessica Jones, Grace and
Frankie, Santa Clarita Diet and A Series of Unfortunate Events.

Last year, we expanded our efforts in original programming to unscripted shows across several genres.
Our output in this area is now comparable to similarly-focused US domestic cable networks. Shows like
Queer Eye and Nailed It are great examples of our ambitions in this area: engaging, buzz-worthy shows
that drive lots of enjoyment around the world.

Our investment in international production continued to increase with big, non-English originals like Q
Mecanismo {The Mechanism). Loosely inspired by real events and from Narcos creator José Padilha, this
drama is tracking to be one of our most viewed originals in Brazil. We are also seeing more examples of
non-English content transcending borders. This quarter, La Casa de Papel (Money Heist in English




NlET'FLIX                                                                                          2
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language territories), a Spanish language heist thriller, became the most watched non-English series on
Netflix ever.

On Super Bowl Sunday, we surprise-announced and launched The CIoven‘ie/d Paradox, the third film in
the Cloverfield franchise. Through tight coordination among our original film, product, marketing and PR
teams, the event showcased how a big branded film can be marketed and delivered to consumers
instantaneously across the globe without a wait for the theatrical window. Outside of North America, we
premiered the Alex Garland—directed Annihilation, starring Natalie Portman, just weeks after its US
theatrical debut and it has enjoyed large audiences in nearly every country for us. We also released a
broad range of original films: from Benji for kids and families; to the Seth Rogen/Evan Goldberg
produced comedy Game Over, Man; to the Sundance hip-hop biopic Roxanne, Roxanne.

We regret our films not being able to compete at this year's Cannes film festival. The festival adopted a
new rule that means if a film is in competition at Cannes, it can not be watched on Netflix in France for
the following three yearsl. We would never want to do that to our French members. We will continue to
celebrate our films and filmmakers at other festivals around the world but unfortunately we will have to
sit out Cannes for now so that our growing French membership can continue to enjoy our original films.

This past quarter, we signed an overall deal with Ryan Murphy, the prolific hit-maker behind American
Crime Story: The People vs. OJ Simpson, Nip/Tuck, Glee, American Horror Story and many others. This
comes on the heels of similar partnerships with Shonda Rhimes, Shawn Levy and Jenji Kohan. While
these overall deals are a substantial investment for us, they allow us to work directly with prolific and
talented creators with a proven track record of success. Instead of having to license their shows for a
finite period from outside suppliers, we will own the projects we produce with them. This approach also
allows us to reduce our reliance on third-party studios and forego the corresponding license premiums
we’ve historically paid.

We were proud to celebrate our first feature Academy Award with Bryan Fogel and Dan Cogan, makers
of our documentary Icarus. We’re thrilled when the creators with whom we partner are recognized for
their exceptional work. The Oscar win helps to reinforce that Netflix is a great home for both
documentary lovers and creators.


Marketing
We’re investing in more marketing of new original titles to create more density of viewing and
conversation around each title (i.e bigger hit in a nation or demographic). We believe this density of
viewing helps on both retention and acquisition, because it makes our original titles even less
substitutable. Because we operate in so many countries, we are able to try different approaches in
different markets, and continue to learn.




  Specifically, the Cannes festival’s new rule is that a French theatrical opening is required of films in competition, and French
1



law in essence requires that if a film is in French theatres, then it cannot be on an SVOD service in France for 36 months. While
in other countries we can offer simultaneous exhibition in theatres and on Netflix, that is not permitted in France, so we have
to be Netflix-only for our films in France.


NlETFLIX                                                                                                                 3
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Product and Partnerships
Last year, we launched bundle offers with Proximus (in Belgium), SFR Altice (France) and T-Mobile (US).
They have proven to be very successful and we are now adding similar bundle offers with additional
MVPD partners. Recently, we announced that we are bundling the Netflix service with packages from
Sky which will begin later this year and with Comcast in the US, which are currently being rolled out.
These relationships allow our partners to attract more customers and to upsell existing subscribers to
higher ARPU packages, while we benefit from more reach, awareness and often, less friction in the
signup and payment process. We believe that the lower churn in these bundles offsets the lower Netflix
ASP. We remain primarily a direct-to-consumer business, but we see our bundling initiative as an
attractive supplemental channel.

In March, we rolled out additional features providing members with greater information and control
over their Netflix viewing. While we had already offered PIN protection for all content at a certain
maturity level, there is now a parental PIN control for individual movies and shows. These new features
are part of our ongoing effort to give our members tools to manage how they and their families enjoy
Netflix.


Free Cash Flow and Capital Structure
Free cash flow in Q1 was -$287 million (less negative than we expected due to content payment timing
differences), compared with -$524 million in Q4’17. We continue to forecast free cash flow of -$3 to -$4
billion in 2018, and to be free cash flow negative for several more years as our original content spend
rapidly grows.

We have about $2.6 billion in cash and we will continue to raise debt as needed to fund our increase      in

original content. Our debt levels are quite modest as a percentage of our enterprise value, and we
believe the debt is lower cost of capital compared to equity.


Board of Directors
We’re pleased to add Ambassador Susan Rice to our board of directors. Susan     is a former National
Security Advisor and United States Ambassador to the United Nations. As a global company operating in
over 190 countries, Susan’s expertise in international affairs will be valuable.


Reference
For quick reference, our eight most recent investor letters are: January 2018. October 2017, Julv 2017.
April 2017, Januarv 2017, October 2016. Julv 2016. April 2016.




NlETFLix                                                                                           4
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Earnings Video Interview, 3pm PST
Our video interview with Ben Swinburne of Morgan Stanley will be on youtubelnetflixir at 3pm PST
today. Questions that investors would like to see asked should be sent to
beniamin.swinburne@morganstanlev.com. Reed Hastings, CEO, David Wells, CFO, Ted Sarandos, Chief
Content Officer, Greg Peters, Chief Product Officer and Spencer Wang, VP of IR/Corporate Development
will all be on the video to answer Ben’s questions.




  IR Contact:                                                PR Contact:
  Spencer Wang                                               Jonathan Friedland
  Vice President, Finance/IR & Corporate Development         Chief Communications Officer
  408 809-5360                                               310 734—2958



Use of Non-GAAP Measures
This shareholder letter and its attachments include reference to the non-GAAP financial measure of free
cash flow and EBITDA. Management believes that free cash flow and EBITDA are important liquidity
metrics because they measure, during a given period, the amount of cash generated that is available to
repay debt obligations, make investments and for certain other activities or the amount of cash used in
operations, including investments in global streaming content. However, these non—GAAP measures
should be considered in addition to, not as a substitute for or superior to, net income, operating income,
diluted earnings per share and net cash provided by operating activities, or other financial measures
prepared in accordance with GAAP. Reconciliation to the GAAP equivalent of these non-GAAP measures
are contained in tabular form on the attached unaudited financial statements.



Forward-Looking Statements
This shareholder letter contains certain forward-looking statements within the meaning of the federal
securities laws, including statements regarding content and marketing spend and strategy, including
outside the US; content performance; future capital raises; domestic and international net, total and
paid subscribers; revenue; contribution profit (loss) and contribution margin for both domestic
international operations, as well as consolidated operating income, operating margin; net income,
earnings per share and free cash flow. The forward-looking statements in this letter are subject to risks
and uncertainties that could cause actual results and events to differ, including, without limitation: our
ability to attract new members and retain existing members; our ability to compete effectively;
maintenance and expansion of device platforms for streaming; fluctuations in consumer usage of our
service; service disruptions; production risks; actions of Internet Service Providers; and, competition,
including consumer adoption of different modes of viewing in-home filmed entertainment. A detailed
discussion of these and other risks and uncertainties that could cause actual results and events to differ
materially from such forward-looking statements is included in our filings with the Securities and


NETFLIX                                                                                              5
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Exchange Commission, including our Annual Report on Form 10-K, as amended by Form 10-K/A, filed
with the Securities and Exchange Commission on February 5, 2018. The Company provides internal
forecast numbers. Investors should anticipate that actual performance will vary from these forecast
numbers based on risks and uncertainties discussed above and in our Annual Report on Form 10-K, as
amended by Form 10-K/A. We undertake no obligation to update forward-looking statements to reflect
events or circumstances occurring after the date of this shareholder letter.




NETFLIX                                                                                        e
           Case
Netflix, Inc.     3:22-cv-02071-L Document 1-6 Filed 09/16/22   Page 36 of 67 PageID 78
Consolidated Statements of Operations
(unaudited)
(in thousands, except per share data)


                                                                                  Three Months Ended
                                                                    March 31,           December 31,         March 31,
                                                                     2018                  2017               2017
Revenues                                                        S     3,700,856     S       3,285,755    S     2,636,635
     Cost of revenues                                                 2,196,075             2,107,354          1,657,024
     Marketing                                                          479,222               419,939            271,270
     Technology and development                                         300,730               273,351            257,108
     General and administrative                                         278,251               239,808            194,291

Operating income                                                        446,578               245,303            256,942
Other income (expense):
      Interest expense                                                  (81,219)              (75,292)            (46,742)
      Interest and other income (expense)                               (65,743)              (38,681)               13,592
Income before income taxes                                              299,616               131,330            223,792
Provision for (benefit from) income taxes                                 9,492               (54,187)               45,570
Net income                                                      $       290,124     S         185,517    $       178,222
Earnings per share:
      Basic                                                                0.67     S            0.43    $             0.41
      Diluted                                                   S          0.64     S            0.41    S             0.40

Weighted-average common shares outstanding:
      Basic                                                             434,174               433,108            430,600
      Diluted                                                           450,359               448,142            445,458




                                                                                                                 7
      NETFLIX
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Netflix, Inc.
Consolidated Balance Sheets
(unaudited)
(in thousands)


                                                                                    As of
                                                                        March 31,           December 31,
                                                                         2018                  2017
Assets
Current assets:
                Cash and cash equivalents                                   2,593,666   S        2,822,795
                Current content assets, net                                 4,626,522            4,310,934
                Other current assets                                         597,388               536,245
                       Total current assets                                 7,817,576            7,669,974
Non-current content assets, net                                            11,314,803           10,371,055

Property and equipment, net                                                  341,932               319,404
Other non-current assets                                                     678,486               652,309
                       Total assets                                        20,152,797   S       19,012,742
Liabilities and Stockholders' Equity
Current liabilities:
                Current content liabilities                                 4,466,081   S        4,173,041
                Accounts payable                                             436,183               359,555
                Accrued expenses                                             429,431               315,094
                Deferred revenue                                             673,892               618,622
                       Total current liabilities                            6,005,587            5,466,312
Non-current content liabilities                                             3,444,476            3,329,796

Long-term debt                                                              6,542,373            6,499,432
Other non-current liabilities                                                139,631               135,246
                       Total liabilities                                   16,132,067           15,430,786
Stockholders' equity:
                Common stock                                                1,995,225            1,871,396
                Accumulated other comprehensive income (loss)                   4,264              (20,557)
                Retained earnings                                           2,021,241            1,731,117
                       Total Stockholders' equity                           4,020,730            3,581,956
                       Total liabilities and Stockholders' equity          20,152,797   $       19,012,742




NETFLIX
Netflix, Inc.   Case 3:22-cv-02071-L Document 1-6 Filed 09/16/22                 Page 38 of 67 PageID 80
Consolidated Statements of Cash Flows
(unaudited)
(in thousands)

                                                                                                       Three Months Ended
                                                                                       March 31,          December 31,          March 31,
                                                                                         2018                 2017                2017
Cash flows from operating activities:
Net income                                                                         S       290,124       $      185,517     S         178,222
Adjustments to reconcile net income to net cash used in operating activities:
      Additions to streaming content assets                                              (2,986,747)         (2,477,659)            (2,348,666)
      Change in streaming content liabilities                                              378,885               53,446               366,257
      Amortization of streaming content assets                                            1,748,844           1,713,863             1,305, 683
      Amortization of DVD content assets                                                    11,134               12,289                18,598
      Depreciation and amortization of property, equipment and intangibles                  19,041               19,073                15,049
     Stock-based compensation expense                                                       68,395               48,530                44,888
     Other non-cash items                                                                     8,209              14,126                21,666
                                                                                                                                            —
     Foreign currency remeasurement loss on long-term debt                                  41,080               25,740
     Deferred taxes                                                                         (22,049)           (104,132)               (26,764)
     Changes in operating assets and liabilities:
           Other current assets                                                             (55,905)            (87,090)               (25,402)
          Accounts payable                                                                  74,083               63,969                (11,000)
          Accrued expenses                                                                 119,049               (5,169)               93,542
           Deferred revenue                                                                 55,270               83,197                15,221
           Other non—current assets and liabilities                                         13,830              (33,657)                8,850
                Net cash used in operating activities                                      (236,757)           (487,957)             (343,856)
Cash flows from investing activities:
  Acquisition of DVD content assets                                                         (10,796)            (10,507)               (25,372)
  Purchases of property and equipment                                                       (37,170)            (21,585)               (52,523)
  Change in other assets                                                                     (1,786)             (3,749)                  (769)
  Purchases of short-term investments                                                              —                 —
                                                                                                                                       (57,774)
  Proceeds from sale of short—term investments                                                     —                 —
                                                                                                                                       55,748
  Proceeds from maturities of short—term investments                                               —                 —                  5,100
                   Net cash used in investing activities                                    (49,752)            (35,841)               (75,590)
Cash flows from financing activities:
 Proceeds from issuance of common stock                                                     56,335               14,705                24,178
  Proceeds from issuance of debt                                                                   —                                        —
                                                                                                              1,600,000
  Issuance costs                                                                                   —                                        —
                                                                                                                (16,828)
  Other ﬁnancing activities                                                                    (321)                 66                     61
                   Net cash provided by financing activities                                56,014            1,597,943                24,239
Effect of exchange rate changes on cash, cash equivalents, and restricted cash                7,177               2,181                 5,455
Net decrease in cash, cash equivalents, and restricted cash                                (223,318)          1,076,326              (389,752)
Cash, cash equivalents, and restricted cash at beginning of period                       2,822,795            1,746,469             1,467,576
Cash, cash equivalents, and restricted cash at end of period                       s     2,599,477       s    2,322,795     s       1,077,824

                                                                                                       Three Months Ended
                                                                                       March 31,          December 31,          March 31,
                                                                                         2018                 2017                2017
Non-GAAP free cash flow reconciliation:
    Net cash used in operating activities                                          S       (236,757)     $     (487,957)    S        (343,856)
    Acquisition of DVD content assets                                                       (10,796)            (10,507)               (25,372)
    Purchases of property and equipment                                                     (37,170)            (21,585)               (52,523)
    Change in other assets                                                                   (1,786)             (3,749)                  (769)
    Non-GAAP free cash flow                                                        S       (286,509)     $     (523,798)    S        (422,520)




                                                                                                                                9
            NETFLIX
          Case 3:22-cv-02071-L Document 1-6 Filed 09/16/22   Page 39 of 67 PageID 81
Netflix, Inc.

Segment Information
(unaudited)
(in thousands)

                                                                         As   of/ Three Months Ended
                                                                  March 31,      December 31,          March 31,
                                                                    2018             2017                2017
Domestic Streaming
       Total memberships at end of period                              56,705           54,750                50,854
       Paid memberships at end of period                               55,087           52,810                49,375

       Revenues                                               $     1,820,019    s   1,630,274     $     1,470,042
       Cost of revenues                                               894,873          873,372             749,488

       Marketing                                                      228,022          195,784             115,038
       Contribution profit                                            697,124          561,118             605,516


International Streaming
       Total memberships at end of period                              68,290           62,832                47,894
       Paid memberships at end of period                               63,815           57,834                44,988
—
       Revenues                                               S     1,782,086    S   1,550,329     $     1,046,199
       Cost of revenues                                             1,258,809        1,191,497             847,317

       Marketing                                                      251,200          224,155             156,232
       Contribution profit                                            272,077          134,677                42,650


Domestic DVD
       Total memberships at end of period                               3,167            3,383                 3,944
       Paid memberships at end of period                                3,138            3,330                 3,867

       Revenues                                               s        98,751    s     105,152     $       120,394
       Cost of revenues                                                42,393           42,485                60,219
       Contribution profit                                             56,358           62,667                60,175


Consolidated

       Revenues                                               s     3,700,856    $   3,285,755     $     2,636,635
       Cost 0f revenues                                             2,196,075        2,107,354           1,657,024

       Marketing                                                      479,222          419,939             271,270
       Contribution profit                                          1,025,559          758,462             708,341
       Other operating expenses                                       578,981          513,159             451,399

       Operating income                                               446,578          245,303             256,942
       Other expense                                                 (146,962)        (113,973)            (33,150)
       Provision for (benefit from) income taxes                        9,492           (54,187)              45,570
       Net income                                             s       290,124    s     185,517     $       178,222




                                                                                                         1°
       NETFLIX
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Netflix, Inc.
Non-GAAP Information
(unaudited)
(in thousands)




                                                      March 31,          June 30,        September 30,         December 31,         March 31,
                                                        2017              2017               2017                  2017               2018
Non-GAAP Adjusted EBITDA reconciliation:
GAAP net income                                   $        178,222   $        65,600     S      129,590    S         185,517    S        290,124
   Add:
     Other expense                                          33,150           113,845             92,390              113,973             146,962
     Provision for (beneﬁt from) income taxes               45,570            (51,638)          (13,353)             (54,187)                9,492

     Depreciation and amortization of property,
     equipment and intangibles                              15,049            18,551             19,238               19,073                19,041
     Stock-based compensation expense                       44,888            44,028             44,763               48,530                68,395

Adjusted EBITDA                                   $        316,879   $       190,386     S      272,628    S         312,906    S        534,014




                                                                                                                                       11
       NETFLIX
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                Exhibit                              B
HULU SURGES PAST 20 MILLION U.S. SUBSCRIBERS AND ANNOUNCES PLANS TO OFFER ADVERTISING IN LIVE TV THIS QUARTER — Hulu Press Site

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                                                                                                                                           Hulu                  Tech

                                                                                                                                         Updates             Blog       O




                                                                                                  May 2,2018



                                    HULU SURGES PAST 20 MILLION U.s.
                                      SUBSCRIBERS AND ANNOUNCES
                                     PLANS TO OFFER ADVERTISING IN
                                         LIVE TV THIS QUARTER
                               Acquisitions, Advertising, Business, Content, Distribution, Movies, Originals, Product, Technology, Uncategorized



                                                                   HULU SURGES PAST 20 MILLION U.S. SUBSCRIBERS

https://WWW hulu.com/press/hulu—surges-past—20-million—u-s-subscribers-and-announces-plans-to-offer-advertising-in-live-tV-this-quaIter/[7/17/2018 1:46:23 PM]
HULU SURGEs PAST 20 MILLION U.s. SUBSCRIBERS AND ANNOUNCES PLANS To OFFER ADVERTISING IN LIVE TV THIS QUARTER — Hulu Press Site

                                               Case ANNOUNCES PLANS
                                                AND3:22-cv-02071-L Document 1-6 ADVERTISING
                                                                       TO OFFER                   LIVE43TVof THIS
                                                                                Filed 09/16/22 INPage             QUARTER
                                                                                                             67 PageID 85

                                                           Premium Streaming Service Reports 60 Percent Jump In Engagement and

                                                            Reveals 78 Percent 0f Viewing 0n Hula Takes Place In The Living Room




                                          Company Expands Originals Slate with Series Orders for Four Weddings and a Funeral from Mindy

                                                      Kaling and New Comedy Series from Ramy Youssef Jerrod Carmichael and A24




                                                  Hulu and Blumhouse Television Unveil Year-Round Horror Event Series: Into the Dark




                                                            Emmy and Golden Globe Award- Winning Series, The Handmaid’s Tale,
                                                                                          Renewed for Season Three




                                          #1   New Broadcast Drama, The Good Doctor, to Stream Exclusively on Hulu in New Deal with Sony

                                                                                               Pictures Television


                                          Company Announces Its First—ever Agreement with Dream Works Animation in Hulu ’s Largest Kids
                                                                                    and Family Licensing Deal to Date




                                                  Hulu to Launch Ad—Supported Downloadable Content During 2018-19 Upfront Season



https://www hulu.com/press/hulu—surges-past-20-million-u-s-subscribers—and-announces-plans-to-offer-advertising-in-live-tV-this-quaﬁer/[7/1 7/201 8 1:46:23 PM]
HULU SURGES PAST 20 MILLION U.S. SUBSCRIBERS AND ANNOUNCES PLANS TO OFFER ADVERTISING IN LIVE TV THIS QUARTER — Hulu Press Site

                                          Case 3:22-cv-02071-L Document 1-6 Filed 09/16/22 Page 44 of 67 PageID 86
                                        MAY 2, 2018 [NEW YORK, NY] Today, during the Hulu 18 Presentation at the newly-named Hulu
                                        Theater at Madison Square Garden, executives took the stage to reveal the company’s rapid growth,

                                        announce multiple original programming and exclusive acquisition deals that expand Hulu’s content

                                        offering, and unveil new product and measurement innovations that will bring the future of television
                                        to the advertising business.




                                        Reinforcing Hulu’s position as one of the world’s top 10 direct-to-consumer entertainment brands,
                                        the company announced that it has surpassed 20 million                    U.S. subscribers and has grown total

                                        engagement on Hulu by more than 60%. In addition, Hulu revealed that 78% of viewing on the
                                        service takes place in the living room, on connected TVs.


                                        “Hulu is the complete         TV experience for consumers, offering both live and on-demand programming
                                        and more consumer choice than ever before,” said Freer.                    “We are the only place that delivers award-

                                        winning content, ad loads less than half that of traditional television, with ads that are always
                                        viewable and always in a brand-safe environment — and we are leading the                            TV and advertising
                                        industries into the future.”




                                        Announcements at this year’s presentation include:




                                        New Series Four Weddings and a Funeral and Ramy Join Catch-22, The First, Castle Rock and Little

                                        Fires Everywhere as Hulu Originals



https://www hulu.com/press/hulu-surges-past—20-million-u-s-subscribers-and-announces-plans-to-offer—advertising-in-live-tv-this-quarter/[7/17/2018 1:46:23 PM]
HULU SURGES PAST 20 MILLION U.s. SUBSCRIBERS AND ANNOUNCES PLANS T0 OFFER ADVERTISING IN LIVE TV THIS QUARTER — Hulu Press Site

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                               Hulu has expanded its Slate of critically-acclaimed original series with new series orders for our

                                         Weddings and a Funeral and Ramy, which join upcoming Hulu Originals Castle Rock, Hulu’s second
                                                          J
                                         project from .J . Abrams and Stephen King set to premiere on July 25; Catch-22, from George

                                         Clooney and starring Kyle Chandler; The First, from Beau Willimon and starring Sean Penn; and
                                         Little Fires Everywhere, from Reese Witherspoon and Kerry Washington, based on the acclaimed
                                         novel of the same name.




                                         Today, the company conﬁrmed an order for Four Weddings and a Funeral, a limited series written
                                         and executive produced by Mindy               Kaling and Matt Warburton, inspired by the 1994 British romantic
                                         comedy ﬁlm. The series will follow a group of friends as their lives intersect through ﬁve events.

                                         Kaling and Warburton 7 who teamed up together for The Mindy Project 7 will executive produce
                                         alongside Jonathan Prince, Howard Klein (3 Arts), Tim Bevan and Eric Fellner (Working Title).




                                         The series comes to Hulu from MGM Television and Universal Television, with MGM serving as the

                                         lead studio, and marks Mindy Kaling’s second original series with Hulu following The Mindy

                                         Project. The project marks the second project with MGM Television following The Handmaid’s Tale
                                         and its third project with Universal Television following The Path and The Mindy Project.




                                         Hulu has also given a series order to Ramy, a groundbreaking comedy series based on the real-life

                                         experiences and comedy of Ramy Youssef. The series takes viewers into the world of Ramy, a ﬁrst

                                         generation American Muslim who is on a spiritual journey in his politically-divided New Jersey

                                         neighborhood. Ramy will bring a new perspective to the screen as it explores the challenges of what


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                               it’s like being caught in between an Egyptian community that thinks life is moral a test, and a
                                             Case 3:22-cv-02071-L Document 1-6 Filed 09/16/22                                  Page 46 of 67 PageID 88
                                        millennial generation that thinks life has no consequences.




                                        Ramy is written, executive produced, created by and starring Ramy Youssef, and executive produced

                                        by Jerrod Carmichael, co-creators Ari Katcher and Ryan Welch as well as A24’s Ravi Nandan. The
                                        series marks the ﬁrst original series order for Hulu from A24, an award winning New York-based

                                        media company focused on the distribution, ﬁnancing, development and production of television and

                                        feature ﬁlm projects.




                                        Hulu and Blumhouse Television Reveal Into The Dark Year-Round Horror Event Series


                                        In partnership with Blumhouse Television, Hulu unveiled Into                      The Dark, a brand new          horror event

                                        series from proliﬁc, award-winning producer, Jason Blum’s independent                           TV studio. The series will
                                        include 12 standalone super-sized episodes, with a new installment released on the ﬁrst Friday of

                                        every month throughout the year. Each episode is inspired by a holiday from the month of it release,
                                        but all will feature Blumhouse’s signature genre/thriller spin on the story. Blumhouse Television,

                                        drawing on its deep talent relationships, is working with a broad section of ﬁlmmakers, creators and
                                        actors to bring this unique, ﬁrst-of-its-kind series to Hulu audiences.




                                        The ﬁrst story, The Body, premieres on Friday, October 5. Set in the selﬁe culture of Los Angeles on

                                        Halloween night, The Body follows a sophisticated, overconﬁdent hitman who always carries out his

                                        work in style. He decides to take things even further one day by transporting his latest victim in plain

                                        sight, correctly assuming that self-absorbed              LA partiers will simply be enamored with his elaborate
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                                         “costume.” Eventually, as his window
                                            Case 3:22-cv-02071-L              of opportunity
                                                                       Document   1-6 Filed to dispose ofPage
                                                                                             09/16/22    the body
                                                                                                               47 begins   close, Wilkes’
                                                                                                                  of 67 toPageID  89
                                         true colors reveal themselves to some groupies that have latched on to him. It becomes a battle                           of will
                                         and wits.




                                         Based on a short ﬁlm of the same name, The Body will be directed by Paul Davis and will star Tom

                                         Bateman (Murder 0n the Orient Express, Vanity Fair) as Wilkes, the suave, professional hitman, and

                                         Rebecca Rittenhouse         (The Mindy Project, Blood & Oil) as Maggie, a feisty, whip-smart, woman                        who

                                         becomes captivated by Wilkes the more she learns of his real profession. Aurora Perrineau

                                         (Blumhouse’s Truth or Dare) plays Dorothy, who uses her cynicism and resourcefulness to try to
                                         outwit Wilkes. She is joined by David Hull (Crazy Ex-Girlfriend, Insecure) as Allan, and Ray

                                         Santiago (Ash vs      Evil Dead, Meet the Fockers, In Time) as Jack 7                   both are Hollywood and Internet

                                         wannabes whose cluelessness complicates the evening time and again. The script was co-written by

                                         Paul Fisher, who will also serve as a producer on the project, and Davis. Alexa Faigen (Safe House,

                                         Love Happens) is executive producing for Blumhouse.




                                         Into the Dark’s second installment, to be released on Friday, November 2, will be Flesh & Blood,

                                         directed by Patrick Lussier (My Bloody Valentine, Dracula 2000). Dermot Mulroney (August: Osage

                                         County, Shameless, The Wedding Date) stars as Henry, a doting father trying to help his daughter,

                                         Kimberly, a teenager suffering from agoraphobia, who has not left the house since her mother’s still-
                                         unsolved murder. Kimberly is played by newcomer Diana Silvers, and Tembi Locke (Dumb and

                                         Dumber To, Eureka) plays her therapist. Set on the eve of Thanksgiving a year after her mother’s

                                         death, Kimberly begins to suspect that she is in danger in the home, but she can’t leave and doesn’t

                                         know who she can trust.


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                                         The Handmaid’s Tale Renewed for Season Three

                                        Following its record-breaking season two premiere last week — which has already doubled its
                                        audience versus season one           — Hulu has renewed the Emmy and Golden Globe Award-winning series

                                         The Handmaid’s Tale for a third season.




                                        Since its premiere in April 2017, The Handmaid ’s Tale has gone on to become the ﬁrst series ever on

                                        a streaming Video on-demand service to take both the Golden                      Globe and Emmy Award for Best

                                        Drama Series. The Handmaid ’s Tale is an eight-time Emmy Award-winning drama series and has

                                        garnered more than 30 prestigious awards to date, including a 2018 Peabody Award.




                                        Based on the award-winning, best-selling novel of the same name by Margaret Atwood, The

                                        Handmaid’s Tale became the most-viewed series debut on Hulu ever in its ﬁrst week and has drawn

                                        acclaim from both fans and critics since its series premiere. Starring Elisabeth Moss, Joseph Fiennes,

                                        Yvonne Strahovski, Alexis Bledel, Madeline Brewer, Ann Dowd, O-T F agbenle, Max Minghella,
                                        Samira Wiley, and Amanda Brugel, the series is created for television by Bruce Miller, who serves as

                                        the series’ showrunner. The Handmaid’s Tale is executive produced by Miller, Warren Littleﬁeld,

                                        Daniel Wilson, Fran Sears, Ilene Chaiken and Elisabeth Moss. Margaret Atwood serves as a co-

                                        executive producer for season three of the series.




                                        Hulu Continues Adding the Best of TV With Exclusive SVOD Deal For Broadcast’s No.                                    1   New

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                               Drama, The Good Doctor
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                                        Under a new agreement with Sony Pictures Television, Hulu is now the exclusive SVOD streaming

                                        home to     ABC’s hit drama series The Good Doctor. The complete ﬁrst season of the series is now
                                        available on Hulu, and future episodes will become available the day after their original broadcast on

                                        ABC. Following last year’s acquisition of NBC’S This Is Us, this marks the                         second consecutive year

                                        Hulu has secured exclusive SVOD rights to broadcast’s                    #1 new drama.




                                         The Good Doctor — which just wrapped up its ﬁrst season — was recently renewed for a second
                                        season following a breakout premiere. The series has become                      ABC’s most watched freshman series
                                        in l3 years and delivered triple-digit year-over—year time period increases to Monday’s 10 o’clock

                                        hour for ABC in Total Viewers (+172%) and Adults 18-49 (+162%).




                                        The series stars Freddie Highmore, Antonia Thomas, Nicholas Gonzalez, Chuku Modu, Beau Garrett,

                                        Hill Harper, Richard Schiff and Tamlyn Tomita. The series is from Sony Pictures Television and
                                        ABC     Studios. David Shore is writer and executive producer. Daniel Dae Kim, David Kim, Seth

                                        Gordon and Sebastian Lee are also executive producers.




                                         The Good Doctor joins a growing list of hit              ABC series now        streaming exclusively on Hulu in

                                        SVOD, including Sony Pictures Television’s The Goldbergs.




                                        Hulu Strikes Its Largest Kids & Family Licensing Deal to Date in First-Ever Agreement with

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                                         DreamWorks Animation
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                                         Hulu today announced its ﬁrst-ever multi-year deal with DreamWorks Animation, making Hulu the

                                         exclusive streaming home to future slates of DreamWorks Animation feature ﬁlms, as well as iconic

                                         DreamWorks library ﬁlms. In addition, Hulu will work with DreamWorks Animation Television to

                                         develop original kids & family series for exclusive streaming based on the company’s popular
                                         franchises and upcoming feature ﬁlms. This marks the ﬁrst time Hulu has partnered with a major

                                         studio in a multi-series commitment to debut original kids                   & family content.




                                         Through the deal, Hulu will become the exclusive U.S. streaming home to future theatrical releases
                                         from the studio beginning in 2019, including upcoming franchise ﬁlms How to Train Your Dragon:

                                         The Hidden      World, The Boss Baby 2 and Trolls 2, in the pay one window. It will also expand Hulu’s
                                         ﬁlm offering in the coming years with a catalog of popular library ﬁlms from the studio including

                                         Shrek, Shrek 2 and Shark Tale, the ﬁrst time DreamWorks Animation titles will become available to
                                         stream on Hulu.




                                         As part of Hulu’s commitment to expanding its library with family programming, the deal also makes
                                         Hulu the home to a slate of new, original series inspired by characters from DreamWorks’ hit

                                         franchises and upcoming feature ﬁlms. DreamWorks Animation Television will develop and

                                         produce the series, which will debut on Hulu beginning in 2020.




                                         Hulu To Introduce Advertising in Live               TV


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                                        Beginning later this quarter, Hulu will begin offering dynamically inserted advertising within its Hulu
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                                        With Live     TV product. This will allow brands to reach Hulu’s young and engaged audience in its live
                                        sports, news and entertainment programming. This capability                      will be introduced across select cable
                                        networks and roll out onto additional live content over the coming months.




                                        Hulu to Launch the Industry’s First Ad-Supported Downloadable Content Experience


                                        Today, Hulu announced its plans to become the ﬁrst company to offer a downloadable content

                                        experience with opportunities for advertisers. The new feature will make it possible for subscribers to
                                        access their favorite shows and movies on the go, with no internet connection required, and will give

                                        advertisers the opportunity to reach their target audiences in a viewing experience never before

                                        available to advertisers.




                                        “Our launch of the industry’s ﬁrst ad-supported downloadable content experience is yet another

                                        example of how Hulu is innovating viewer-ﬁrst ad solutions to drive powerful results for brands” said
                                        Peter Naylor,      SVP of Advertising Sales          at Hulu.   “With downloadable content, we’re offering brands
                                        more ways to connect with engaged viewers who love the experience                          of watching television,
                                        wherever they may be.”




                                        The experience will launch on Hulu during the 2018-19 upfront season.




                                        Hulu Establishes Digital Ad Ratings as the New Currency for Advertisers

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                                         Today, Hulu revealed that Nielsen Digital Ad Ratings (DAR) for OTT is now its currency of business
                                         across the platform. Advertisers can use               DAR to measure, guarantee and report campaign audience
                                         delivery across all desktop, mobile and connected devices, providing vital insight into viewership on
                                         the platform. With 78%          of Hulu viewing taking place in the living room, DAR provides accurate,
                                         holistic measurement for everyone watching.




                                         Hulu Doubles Down on Driving Business Outcomes, Expands Suite of Sales Effectiveness Tools


                                         As part of Hulu’s efforts to offer advertisers more ways to prove business outcomes, Hulu announced
                                         it has expanded its suite        of sales effectiveness tools with four new partnerships.




                                         Hulu will now offer attribution across the auto and retail categories working with IHS Markit for

                                         Polk Campaign Measurement Solutions and Nielsen Buyer Insights, respectively. In addition, Hulu
                                         announced an expanded offering for CPG brands with the help of IRI’s attribution solution.




                                         And in partnership with Experian, Hulu will offer advertisers the ability to enhance their CRM data
                                         with Hulu’s ﬁrst-party data to deliver better insight into sales growth on the platform.




                                         About Hulu


                                         Hulu is a leading premium streaming service that offers instant access to live and on demand


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                               channels, original series and ﬁlms, and a premium library of TV and movies to more than 20 million
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                                         subscribers in the U.S. Since its launch in 2008, Hulu has consistently been at the forefront of

                                         entertainment and technology. Hulu is the only streaming service that offers both ad-supported and

                                         commercial-free current season shows from the largest U.S. broadcast networks; libraries of hit                           TV
                                         series and ﬁlms; and acclaimed Hulu Originals including Emmy® and Golden Globe Award-winning

                                         series   The Handmaid ’s       Tale,   The Looming Tower, Future Man, Marvel ’s Runaways, The Path,
                                         11.22. 63, and Golden Globe nominated comedy Casual, as well as upcoming series Castle Rock, The

                                         First, Catch-22 and Little Fires Everywhere. In 2017, Hulu added live news, entertainment and sports
                                         from 2 1 st Century Fox, The Walt Disney Company, NBCUniversal,                           CBS Corporation, The CW,
                                         Turner Networks,        A+E Networks and Scripps Networks Interactive to its offerings — making it the
                                         only   TV service that brings together live, on-demand, originals, and library content all in one place,
                                         across living room and mobile devices.




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                                                          LATEST PRESS RELEASES
                                   July   16, 2018                                                             July   12, 2018



                                   IT’S OFFICIAL: UnREAL                                                       HULU LANDS RECORD 27
                                   MOVES TO HULU FOR ITS                                                       PRIMETIME EMMY® AWARD
                                   FINAL SEASON                                                                NOMINATIONS
                                   ACQUISITIONS, CONTENT, ORIGINALS                                            ACQUISITIONS, BUSINESS, CONTENT, MOVIES,

                                                                                                               ORIGINALS




                                                                                                 Follow @Hulu




                                 HULU                                                                                            ADVERTISING
                                 About Us                                                                                        Ad Experience
                                 Executives                                                                                      Brand Solutions
                                  Subscribe Now                                                                                  Hulu Originals

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                                                                                             Description Of Methodology (DOM)
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                         Positions                                                           PRESS
                                  Hulugan Life                                                                                  Originals
                                  What Deﬁnes Hulu                                                                              News
                                  Employee Veriﬁcation                                                                          Schedule
                                                                                                                                Press Site Terms
                                  FOLLOW US
                                  Twitter                                                                                       LEGAL
                                  Facebook                                                                                      About Ads
                                  Tumblr                                                                                        Hulu.c01n Tenns
                                  YouTube                                                                                       Privacy Policy
                                  Instagram                                                                                     © 2017 Hulu
                                  Google+




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                Exhibit C
Disney+ Paid Subscriber Count SuIpasses 50 Million Milestone - The Walt Disney Company

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                                                                      APRIL 8,2020



               Disney+ Paid Subscriber Count Surpasses 5O
                                                        Million Milestone


                         LAUNCHED FIVE MONTHS AGO, THE SERVICE IS NOW
                       AVAILABLE IN MORE THAN A DOZEN COUNTRIES AROUND
                                           THE WORLD


                  BURBANK, CA (April 8, 2020) — Continuing to delight consumers
                  around the world, Disney+ has now achieved another new milestone,
                  with 5O million paid subscribers globally within five months after its
                  U.S. launch.


                  “We’re truly humbled that Disney+ is resonating with millions around
                  the globe, and believe this bodes well for our continued expansion
                  throughout WeStern Europe and into Japan and all of Latin America
                  later this year,” said Kevin Mayer, Chairman of Walt Disney Direct-to-
                  Consumer & International. “Great storytelling inspires and uplifts, and
                  we are in the fortunate position of being able to deliver a vast array of
                  great entertainment rooted in joy and optimism on Disney+.”


                  In   the paSt two weeks, Disney+ rolled out in eight Western European
                  countries including the UK, Ireland, France, Germany, Italy, Spain,
                  Austria, and Switzerland. Additionally, Disney+ became available last


https://thewaltdisneycompany.com/disney-paid-subscriber-count-surpasses-50-million-milestone/[8/3/2022 12:32:39 PM]
Disney+ Paid Subscriber Count SuIpasses 50 Million Milestone - The Walt Disney Company

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                  week  in India, where it is offered                      in conjunction with the existing

                  Hotétar service, and already accounts for approximately eight million
                  of Disney+’s 50 million paid subscribers.


                  ABOUT DISNEY+


                  Disney+ is the dedicated streaming home for movies and shows from
                  Disney, Pixar, Marvel, Star Wars, National Geographic, and more. As
                  part of Disney’s Direct-to-Consumer and International (DTCI)
                  segment, Disney+ is available on most internet—connected devices
                  and offers commercial-free programming with a variety of original
                  feature-length films, documentaries, live-action and animated series
                  and short-form content. Alongside unprecedented access to Disney’s
                  incredible library of film and television entertainment, the service is
                  also the exclusive streaming home for the lateSt releases from The
                  Walt Disney Studios. Visit DisneyPlus.com to subscribe and/or learn
                  more about the service.


                  FonNard-Looking Statements


                  Certain Statements and information in this communication may be
                  deemed to be “fonNard-looking Statements” within the meaning of the
                  Federal Private Securities Litigation Reform Act of 1995, including
                  Statements such as the expected performance of our goods and
                  services, anticipated availability or timing of our goods or services
                  and other Statements that are not Statements of hiStorical fact. These
                  Statements are often characterized by terminology such as “will,”
                  “believe” and similar expressions. These Statements are made
                  based on views and assumptions as of the time made and the
                  Company does not undertake any obligation to update these

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                  Statements.


                  Actual results may differ materially from those expressed or implied.
                  Such differences may result from actions taken by the Company,
                  including Strategic or restructuring initiatives (including capital
                  investments, asset acquisitions or dispositions) or other business
                  decisions (including regarding direct-to-consumer launch timing,
                  platform or content), as well as from developments beyond the
                  Company’s control, including:


                 o
                      changes     domestic and global economic conditions, competitive
                                     in
                      conditions and consumer preferences;
                 o    adverse weather conditions or natural disasters;
                 o    health concerns;
                 o    international, regulatory, political, or military developments
                      (including government requests to delay direct-to-consumer launch
                      in   certain jurisdictions);
                 o
                      technological developments; and
                 o    labor markets and activities;


                  each such risk includes the impacts of COVlD-19 and related
                  mitigation efforts.


                  Such developments may further affect entertainment, travel and
                  leisure businesses generally and may, among other things, further
                  affect:


                 o    the performance of the Company’s theatrical and home
                      entertainment releases;
                 o    the advertising market for broadcast and cable television


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                      programming;
                 o    demand for our products and services;
                 o    construction;
                 o
                      expenses of providing medical and pension benefits;
                 o    income tax expense;
                 o
                      performance of some or all company businesses either directly or
                      through their impact on those who distribute our products; and
                 o    achievement of anticipated benefits of the TFCF transaction.


                  Additional factors are set forth in the Company’s Annual Report on
                  Form 10-K for the year ended September 28, 2019 under Item 1A,
                  “Risk Factors,” Item 7, “Management’s Discussion and Analysis”
                  under Item 1A, “Risk Factors,” Item 7, “Management’s Discussion
                  and Analysis,” Item 1, “Business,” and subsequent reports, including,
                  among others, Quarterly Reports on Form 10-Q and Current Reports
                  on Forms 8-K._


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        Disneycom Guest Services Advertise With Us Interest-Based Ads Do Not Sell My Personal Information
                                          i
                                                                                                                            l
                                                                                                                                Contact Us




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                 Exhibit D
How does Netﬂix work?                                                                                        Page   1   of 5
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                     Member Sign In
  NETFLIX
                      hﬁps—zf/«NWWﬂe-tfI-iaeee-mytbegin?
  (https://www.netﬂix.com/)               I
                                                                               Start Your Free Month
  Help Center (/en) IacmmeéﬁeggéemﬁsgwAt’AzFt’A
                                                                            (httpszllwww.netﬂix.com/getStarted)
  How does Wetfﬂskf'WHPK?e“°/°2F“°de%
                     2F412)




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       What is Netflix?
       Netflix is a streaming service that allows our customers to watch a wide variety of award-
       winning TV shows, movies, documentaries, and more (https://media.netflix.com/) on
       thousands of internet—connected devices (http://devices.netflix.com/). With Netflix, you can
       enjoy unlimited viewing of our content without having to watch a single commercial. There's
       always something new to discover, and more TV shows and movies are added every month!




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       Free Trial
       Try us free (httpszllnetflix.com/getstarted) for    1   month!* If you enjoy your Netflix trial, do
       nothing and your membership will automatically continue for as long as you choose to remain
       a member.




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       Netflix membership is a month-to-month subscription that begins on the date you sign up. No
       contract, no cancellation fees, no commitment. Cancel online anytime
       (https://help.netflix.com/en/node/407), 24 hours a day.

       *Free trial availability varies by region.




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       Membership
       Pick your price, pick your plan! Netflix offers 3 membership plans
       (https://www.netflix.com/getstarted/) to suit your needs. Your plan wi|| determine how many
       people can stream Netflix content at once, and whether you can view in Standard Definition
       (SD), High Definition (HD), or Ultra High Deﬁnition (UHD).

              Basic Plan:   1   screen plan SD (watch on   1   screen at a time, Standard Definition)

              Standard Plan: 2 screen plan HD (watch on 2 screens at the same time, High
              Deﬁnition when available)

              Premium Plan: 4 screen plan HD/UHD 4K (watch on 4 screens at the same time,
              includes High Definition and Ultra High Definition when available)

              DVD Plan (only available in the US): US customers can sign up for a DVD-only plan
              (http://dvd.netflix.com/), or add DVDs (https://he|p.netflix.com/en/node/22) to their
              current streaming plan.

       The first month is free for new members.   you choose to remain a member of Netflix, you'll
                                                    If

       be billed once a month on the date that you originally signed up. For more info, learn how
       Netflix charges your account (https://he|p.netflix.com/en/node/27).

       You can change or upgrade your plan (https://he|p.netf|ix.com/en/node/22) anytime from your
       Account (httpszllwww.netﬂix.com/YourAccount) page.




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       TV Shows & Movies
       Inover 190 countries (https://he|p.netflix.com/en/node/14164), Netflix members get instant
       access to great content. Netflix has an extensive global content library featuring award-
       winning Netflix originals, feature films, documentaries, TV shows, and more
       (https://media.netflix.com/). Netflix content will vary by region, and may change over time.

       The more you watch, the better Netflix gets at recommending TV shows and movies you’ll
       love.

       You can play, pause, and resume watching, all without commercials or commitments.

       Plus, you can download your favorite shows (https://he|p.netﬂix.com/en/node/54816) to your
       iOS or Android mobile device, or Windows 1O app. With downloads, you can watch while
       you're on the go and without an internet connection. Go ahead, binge a little!




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       Streaming Devices
       Watch anywhere, anytime, on thousands of devices. Netflix streaming software allows you to
       instantly watch content from Netflix through any internet—connected device
       (httpszlldevices.netflix.com/) that offers the Netflix app, including smart TVs, game consoles,
       streaming media players, smartphones, and tablets. View our Internet Speed
       Recommendations (https://help.netflix.com/en/node/306) to achieve the best performance.
       You can also stream Netflix directly from your computer or laptop. We recommend reviewing
       the System Requirements (https://help.netﬂix.com/en/node/23742) for web browser
       compatibility.

       The Netflix app may come pre-loaded on certain devices, or users may need to download the
       Netflix app onto their device. Netflix app functionality may differ between devices. See our
       Terms of Use for limitations and usage.

       Need help getting set up? Search our Help Center (https://help.netflix.com/) for the
       manufacturer of the device you're using.




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       Get Started!
       Follow these easy steps to start watching Netflix today:

          1.   Choose the membership plan (https://www.netflix.com/getstarted/) that’s right for you.

          2. Create an account by entering your email address and creating a password.




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           3. Enter a payment method so you don’t miss a single episode when your free trial ends.

           4. That‘s it. Stream on!

       You can cancel your free trial at any time during your first 30 days and never be charged. If
       you choose not to cancel, your account wi|| not be charged until your free trial ends. We'll
       send you a reminder email three days before your free trial ends to ensure you're still enjoying
        Netflix.

       As a member of Netflix, you'll be billed once a month (https://he|p.netflix.com/en/node/27) on
       the date you originally signed up. If you decide Netflix isn't for you, you always have the
       option to cancel online (https://he|p.netflix.com/en/node/407), anytime.




  Back to Home (https://he|p.netflix.com/)




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          YES                  NO




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